     Case 8:23-cv-01696-CJC-ADS Document 46 Filed 12/20/23 Page 1 of 2 Page ID #:2760




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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10                                  SOUTHERN DIVISION
11
       RENO MAY, et al.,                      )
                                              ) Case Nos.: SACV 23-01696-CJC (ADSx)
12                                            )            SACV 23-01798-CJC (ADSx)
                   Plaintiffs,                )
13                                            )
             v.                               )
14                                            ) PRELIMINARY INJUNCTION
                                              )
15
       ROBERT BONTA, in his official          )
                                              )
16     capacity as Attorney General of the    )
       State of California, and DOES 1-10,    )
17                                            )
                                              )
18                 Defendant.                 )
                                              )
19                        AND                 )
                                              )
20                                            )
       MARCO ANTONIO CARRALERO, et )
21     al.,                                   )
                                              )
22                                            )
                   Plaintiffs,                )
23                                            )
             v.                               )
24                                            )
                                              )
25
       ROB BONTA, in his official capacity as )
                                              )
26     Attorney General of California,        )
                                              )
27                                            )
                   Defendant.                 )
28
                                              )
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     Case 8:23-cv-01696-CJC-ADS Document 46 Filed 12/20/23 Page 2 of 2 Page ID #:2761




1            This matter came before the Court on Plaintiffs’ motions for a preliminary
2      injunction. (May Dkt. 13; Carralero Dkt. 6.) On December 20, 2023, the Court issued
3      an order determining that the challenged provisions of Senate Bill 2 are unconstitutional,
4      and granting a preliminary injunction enjoining enforcement of those provisions.
5

6            Now, therefore, IT IS HEREBY ORDERED that Defendant Attorney General
7      Robert Bonta, and his officers, agents, servants, employees, and attorneys, and those
8      persons in active concert or participation with him, and those duly sworn state peace
9      officers and federal law enforcement officers who gain knowledge of this injunction
10     order or know the existence of this injunction order, ARE HEREBY
11     PRELIMINARILY RESTRAINED AND ENJOINED from implementing or
12     enforcing California Penal Code § 26230(a)(7), (8), (9), (10), (11), (12), (13), (15), (16),
13     (17), (19), (20), (22), (23), and (26) against any individuals with permits to carry a
14     concealed weapon issued under California Penal Code sections 26150 or 26155. They
15     are also PRELIMINARILY RESTRAINED AND ENJOINED from implementing or
16     enforcing California Penal Code § 26230 as it pertains to parking areas.
17

18     DATED:       December 20, 2023
19                                                   __________________________________
20                                                          CORMAC J. CARNEY
21                                                   UNITED STATES DISTRICT JUDGE
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